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    EXHIBIT “1”
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                                                      IN THE CIRCUIT COURT OF THE 17th
                                                      JUDICIAL CIRCUIT IN AND FOR
                                                      BROWARD COUNTY, FLORIDA

                                                       CASE NO.: CACE-23-014222
John OWOC,

        Plaintiff,

v.

Robert DICKINSON, Stephen GRAY,
Steven PANAGOS, and
VITAL PHARMACEUTICALS, INC.

        Defendants.
___________________________________________ /

                                   AMENDED COMPLAINT

        Plaintiff, John “Jack” Owoc, (“Plaintiff’ or “Owoc”), by and through undersigned counsel,

hereby files this Amended Complaint for Declaratory and Injunctive Relief against

Defendants, Robert “Bob”        Dickinson,     Stephen    Gray,    Steven   Panagos     (collectively,

“Directors”), and Vital Pharmaceuticals, Inc., and alleges as follows in support thereof:

                          PARTIES, JURISDICTION, AND VENUE

        1.      This is an action for declaratory relief and a preliminary injunction arising under

the laws of the State of Florida. The Court has jurisdiction pursuant to Section 86.011 of the Florida

Statutes.

        2.      John “Jack” Owoc (“Owoc”) is an individual, sui juris, and the founder, sole

shareholder, and Chief Executive Officer of VPX. Owoc is also Chairman of the Board of

Directors of VPX.




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       3.         Defendant, Robert “Bob” Dickinson, is an individual, sni juris, is a resident of

Miami-Dade County, Florida, and purports to be a member of the Board of Directors of VPX,

appointed on December 15, 2022.

       4.         Defendant, Stephen Gray, is an individual, sui juris, and a member of the Board of

Directors of VPX, having been appointed to his position in accordance with VPX’s corporate

bylaws. Gray purports to be a resident of Massachusetts. However, the conduct giving rise to the

incident lawsuit arose within the state of Florida.

       5.         Defendant, Steven Panagos, is an individual, sui juris, and a member of the Board

of Directors of VPX, having been appointed to his position in accordance with VPX’s corporate

bylaws. Panagos purports to be a resident of Connecticut. However, the conduct giving rise to the

incident lawsuit arose within the state of Florida.

       6.         Defendant, Vital Pharmaceuticals, Inc. (“VPX” or the “Company”) is a corporation

duly incorporated and existing under the laws of the State of Florida, with its principal place of

business in Broward County, Florida.

       7.         This Court has jurisdiction and venue is proper in Broward County, Florida, as all

parties reside and/or conduct business in this County and the causes of action alleged herein arose

in this County.

                                    GENERAL ALLEGATIONS

       8.         On October 10, 2022, VPX and its related entities filed a voluntary petition for

relief in the United States Bankruptcy Court for the Southern District of Florida (the “Chapter 11

Cases”). VPX commenced these cases in order to, among other things, obtain “breathing room”

from pending litigation.




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       9.      Historically, Owoc, the founder and sole shareholder of the Company, had served

as the sole director or member, as well as the Chief Executive Officer or managing member, as

applicable, of VPX and its related entities. Owoc has held these positions for nearly three decades,

beginning in 1993.

       10.     Owoc, at the advice of VPX’s counsel for the Chapter 11 Cases, initiated a plan to

increase the size of the board of directors to include five directors, consisting of (a) two Company

executives, /. e., Owoc and Kathleen Cole (who served as VPX’s Chief Operating Officer); (b) two

members unaffiliated with the Company, /. e., Dr. Guillermo Escalante and Eric Hillman, each of

whom has deep knowledge of the industry and/or VPX’s products; and (c) Steve Panagos, a veteran

restructuring advisor with extensive experience serving as an independent director for companies

undergoing in-court or out-of-court restructurings.

       11.     Defendant Bob Dickinson was initially appointed to the Board on December 14,

2022, as a replacement member previously unaffiliated with VPX.

       12.     Immediately after being appointed, Dickinson colluded with Defendant Steve

Panagos and attempted to recruit Eric Hillman into a scheme to control the votes of the Board.

Dickinson threatened Hillman stating he must vote consistent with Panagos and against Owoc on

all Board votes. However, the problem was Dickinson’s intended actions were not in the best

interests of the company or its sole shareholder.

       13.     Acting preemptively to prevent this scheme, Owoc properly terminated Dickinson

from his position as a member of the Board in accordance with Florida law and the corporate

bylaws on or about December 15, 2022.

       14.     Subsequently, despite Owoc’s termination of Dickinson, the Directors, acting ultra

vires, purported to reinstate Dickinson as a member of the Board of Directors and initiated a



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scheme to utilize his vote as a member of the Board in an attempt to wrongfully terminate Owoc

for pretextual causes.

        15.     In order to protect themselves while carrying out their scheme, the Directors needed

to ensure that Owoc would not have the ability to remove them as members of the Board or

terminate their employment.

        16.     To do so, the Board, acting through this 3-member majority comprised of the

Directors, including Bob Dickinson, executed a written consent on January 7, 2023, modifying the

corporate bylaws to prevent the shareholder, CEO, or any member of the Board from removing a

Board member and leaving that removal power solely to a majority Board vote. This ensured that

the Directors, acting through their 3-member majority, could never be ousted.

        17.     With this protection in place, the Directors continued with their scheme.

        18.     On January 26, 2023, the Directors, purportedly on behalf of the Board, including

Dickinson, sent Owoc a Demand Letter. The letter cited supposed concerns the Board had with

Owoc’s actions and requesting Owoc’s immediate appearance at a Board meeting the following

day. See January 26 Demand Letter, attached hereto as Exhibit A. This letter was written on behalf

of the Directors by the Latham Watkins Law Firm, and purposely excluded the remaining two

Board members, Owoc and Hillman.

        19.     On February 10, 2023, the Board, again including Dickinson, sent Owoc a second

Demand Letter, citing more apparent concerns the Board had with Owoc’s actions and requesting

Owoc’s immediate appearance at yet another Board meeting. See February 10 Demand Letter,

attached hereto as Exhibit B.

       20.      Upon realizing what the Directors were plotting, Owoc formally terminated each

of the Directors from their positions as members of the Board on March 5, 2023, citing to the



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Directors’ repeated threats towards Owoc and disastrous outcome to VPX should their scheme be

realized. See March 5, 2023 Notice of Termination of the Directors, attached hereto as Exhibit C.

        21.     Finally, the Directors, acting ultra vires, wrongfully terminated Owoc on March 9,

2023. See Letter of Termination, attached hereto as Exhibit D.

        22.     This termination would not have been possible but for the vote of Dickinson, who

was properly terminated by Owoc in December 2022, but who nonetheless voted to terminate

Owoc.

        23.     As a direct and proximate result of the Directors’ actions, VPX's CEO has been

deprived of his rightful position, and the governance and operation of VPX have been significantly

impaired.

                            COUNT I: DECLARATORY JUDGMENT

        24.     Plaintiff repeats and realleges the allegations contained in the preceding paragraphs

as if fully set forth herein.

        25.     An actual, present, and justiciable controversy exists between Plaintiff and

Defendants as to the validity of the Directors' terminations from their positions as corporate

officers and the CEO's termination.

        26.     Pursuant to Section 607.0842 of the Florida Statutes, an officer of a corporation can

be removed at any time, with or without cause by the appointing officer or any other officer if

authorized by the bylaws.

        27.     Pursuant to Florida law and the applicable provisions of VPX’s corporate bylaws,

Owoc, as CEO, sole shareholder, and chairman of the Board, had a legal right to terminate a

corporate officer and member of the Board.




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        28.     Owoc’s termination of Dickinson occurred before the Board, including Dickinson,

voted to terminate Owoc.

        29.     Further, Owoc’s termination of the Directors, including the second termination of

Dickinson, occurred before the Board voted to terminate Owoc.

        30.     Accordingly, the Board’s termination of Owoc is void ab initio.

        31.     Plaintiff seeks a declaratory judgment, pursuant to Section 86.011 of the Florida

Statutes, declaring that the Directors were validly terminated from the Board of Directors and that

their subsequent actions, including the termination of the CEO, are null and void, and that Owoc

remains in his position as CEO of VPX.

        WHEREFORE, Plaintiff respectfully requests that this Court enter a declaratory judgment

in favor of Plaintiff and against the Directors, declaring that the Directors were validly terminated

from the Board of Directors and that their subsequent actions, including termination of the CEO,

are null and void, that Owoc remains in his position as CEO of VPX, and for any further relief this

Court deems just and proper.

                            COUNT II: PRELIMINARY INJUNCTION

        32.     Plaintiff repeats and realleges the allegations contained in the preceding paragraphs

as if fully set forth herein.

        33.     Plaintiff will suffer irreparable harm if the Directors are permitted to continue

acting as Board members and if the wrongful termination of the CEO is allowed to stand.

        34.     Plaintiff has a substantial likelihood of success on the merits, as the CEO's

termination of the Directors was in accordance with the corporate bylaws.

        35.     The threatened injury to Plaintiff outweighs any potential harm to Defendants.

        36.     Plaintiff has no adequate remedy at law.



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       37.    Plaintiff seeks a preliminary injunction, pursuant to Rule 1.610 of the Florida Rules

of Civil Procedure, enjoining the Directors from acting as Board members and nullifying the

wrongful termination of the CEO.

       WHEREFORE, Plaintiff respectfully requests that this Court enter a preliminary

injunction, enjoining the Directors from acting as Board members and nullifying the wrongful

termination of the CEO, and for any further relief this Court deems just and proper.

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served

electronically upon all parties registered to receive electronic notices via the Court’s CM/ECF

System on June 7, 2023.



                                                     Respectfully submitted,
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